       Case 1-17-46613-nhl      Doc 46   Filed 03/13/18   Entered 03/13/18 11:19:33

Troutman Sanders LLP
875 Third Avenue
New York, New York 10022
                                                                     troutmarill
troutman.com
                                                                       sanders
Jonathan D. Forstot
jonathan.forstot@troutman.com




March 12, 2018
E-MAIL AND FEDERAL EXPRESS

Bruce Weiner, Esq.
Rosenberg, Musso & Weiner LLP
26 Court Street
Ste. 2211
Brooklyn, NY 11242


Re:     In re Bracha Cab Corp. et al., Case No. 1-17-46613 (NHL)

Dear Mr. Weiner:

As you are aware, our firm represents Capital One Equipment Finance Corp. f/k/a All
Points Capital Corp., d/b/a Capital One Taxi Medallion Finance ("COTMF"), the secured
creditor in the referenced cases.

Further to the Court's direction at the March 9, 2018 hearing, this is to memorialize that
the Debtors are to pay, collectively, the sum of $140,000.00 to COTMF as an initial
adequate protection payment, subject to written acknowledgement of COTMF's
reservation of rights

Within three days from the date hereof, the Debtors will collectively pay COTMF the
sum of $140,000. If paying by a check, make each of the checks payable to Capital
One Taxi Medallion Finance and include in the memo section the payor Debtor's name
and relevant loan number. The checks should be mailed to:
                         Capital One Taxi Medallion Finance
                         PO Box 2256
                         Hicksville, NY 11802

 If paying by wire transfer, the Debtors should wire the funds according to the following
 wiring instructions:
       Case 1-17-46613-nhl    Doc 46    Filed 03/13/18    Entered 03/13/18 11:19:33


Bruce Weiner, Esq.
March 12, 2018                                                             troutmaio
Page 2
                                                                             sanders

                     Capital One Equipment Finance Corp.
                     ABA: 065000090
                     Account: 2082409974
                     Account Name: COEF Taxi Medallion Corp
                     Attn: Special Assets Taxi
                     Ref: [DEBTOR NAME]

Notwithstanding the forgoing, COTMF does not agree that its interests are adequately
protected or will be adequately protected by the payments reference herein.

Moreover, by agreeing to accept the payments referenced herein, COTMF does not
waive, and expressly reserves, all of its rights and claims, including those asserted in its
pending motions and its objection to the use of cash collateral in these cases.

Please indicate on behalf of the Debtors their acknowledgement and agreement to the
above by countersigning below and returning a fully signed copy to me.

Very truly yours,


J     than D. Forstot
TROUTMAN SANDERS LLP
Attorneys for Capital One Equipment Finance Corp.,
f/k/a All Points Capital Corp. d/b/a
Capital One Taxi Medallion Finance

ACKNOWLEDGED AND AGREED:


/Bruce Weiner
 ROSENBERG, MUSSO & WEINER, LLP
 Attorneys for the Debtors
